                             UNITED STATES DISTRICT COURT
                            EASTERN DISTRICT OF TENNESSEE
                                   AT CHATTANOOGA

 UNITED STATES OF AMERICA                       )
                                                )          1:10-CR-34
 v.                                             )
                                                )          Collier/Carter
 LEVAR WILLIAMS                                 )

                                          ORDER

        Defendant Levar Williams (“Defendant”) moved to suppress evidence from intercepted wire

 communications (Court File No. 330). This motion was referred to United States Magistrate Judge

 William B. Mitchell Carter, who subsequently filed a report & recommendation (“R&R”),

 recommending Defendant’s motion be denied (Court File No. 357). Defendant filed an objection

 (Court File No. 362), and the government responded (Court File No. 372). For the reasons stated

 in the accompanying memorandum, the Court ACCEPTS and ADOPTS the R&R (Court File No.

 357), and DENIES Defendant’s motion to suppress (Court File No. 330).

        SO ORDERED.

        ENTER:



                                            /s/
                                            CURTIS L. COLLIER
                                            CHIEF UNITED STATES DISTRICT JUDGE




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